  Case 19-32498-JNP          Doc 17    Filed 01/20/20 Entered 01/20/20 15:11:34         Desc
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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEW JERSEY
                                  CAMDEN DIVISION

 In Re:                                          Case No. 19-32498-JNP

 Paul Morris                                     Chapter 13

 Debtor.                                         Judge Jerrold N. Poslusny Jr.

  REQUEST FOR SERVICE OF NOTICES PURSUANT TO FED.R.BANKR.P. 2002(g)

       Please take notice that D. Anthony Sottile, as authorized agent for Partners for Payment
Relief De IV, LLC, a creditor in the above-captioned case, requests, pursuant to Rules 2002 and
9007 of the Federal Rules of Bankruptcy Procedure and §§102(1), 342 and 1109(b) of title 11 of
the United States Code, and 11 U.S.C. §§ 101, et seq., that all notices given or required to be
given and all papers served or required to be served in this case also be given to and served,
whether electronically or others on:
          D. Anthony Sottile
          Authorized Agent for Partners for Payment Relief De IV, LLC
          394 Wards Corner Road, Suite 180
          Loveland, OH 45140
          Phone: 513.444.4100
          Email: bankruptcy@sottileandbarile.com


 Dated: January 20, 2020                         /s/ D. Anthony Sottile
                                                 D. Anthony Sottile
                                                 Authorized Agent for Creditor
                                                 Sottile & Barile, LLC
                                                 394 Wards Corner Road, Suite 180
                                                 Loveland, OH 45140
                                                 Phone: 513.444.4100
                                                 Email: bankruptcy@sottileandbarile.com
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                                 CERTIFICATE OF SERVICE

I certify that on January 20, 2020, a copy of the foregoing Request for Service of Notices was
filed electronically. Notice of this filing will be sent to the following party/parties through the
Court’s ECF System. Party/Parties may access this filing through the Court’s system:

       Chad M. Sherwood, Debtor’s Counsel
       chad@sherwoodlegal.com

       Isabella C. Balboa, Chapter 13 Trustee
       ecfmail@standingtrustee.com

       Office of the United States Trustee
       ustpregion03.ne.ecf@usdoj.gov

I further certify that on January 20, 2020, a copy of the foregoing Request for Service of Notices
was mailed by first-class U.S. Mail, postage prepaid and properly addressed to the following:

       Paul Morris, Debtor
       404 Bellevue Avenue
       Hammonton, NJ 08037

                                                    /s/ D. Anthony Sottile
                                                    D. Anthony Sottile
                                                    Authorized Agent for Creditor
                                                    Sottile & Barile, LLC
                                                    394 Wards Corner Road, Suite 180
                                                    Loveland, OH 45140
                                                    Phone: 513.444.4100
                                                    Email: bankruptcy@sottileandbarile.com
